       Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 1 of 19



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JOE RUBEN MULLER,

       Plaintiff,

v.                                                   Cause No. 1:16-cv-987

GEICO INSURANCE COMPANY,

       Defendant.

                                   NOTICE OF REMOVAL

       GEICO General Insurance Company (hereinafter “GEICO”), improperly named as

GEICO Insurance Company, by and through its counsel of record, Chapman and

Charlebois, P.C., (Donna L. Chapman and Jessica C. Singer), hereby files this Notice of

Removal pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and in support thereof, states

as follows:

       1.     Plaintiff Joe Ruben Muller (“Plaintiff”) filed his Complaint to Recover Damages

for Personal Injury Resulting from Automobile Accident and Bad Faith (“Complaint”) in the

First Judicial District, Santa Fe County, State of New Mexico, in Cause No. D-101-CV-

2016-01463 (hereinafter “State Court Action”) on June 20, 2016.              (See Plaintiff’s

Complaint, attached hereto as Exhibit A).

       2.     In his Complaint, Plaintiff alleges he was a resident of the State of New

Mexico at the time of the collision. (Id. at ¶ 1).

       3.     Plaintiff named Defendant GEICO, as the only Defendant in Plaintiff’s

Complaint.

       4.     Plaintiff does not make any allegations as to the citizenship of GEICO.
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 2 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 3 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 4 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 5 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 6 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 7 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 8 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 9 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 10 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 11 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 12 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 13 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 14 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 15 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 16 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 17 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 18 of 19
Case 1:16-cv-00987-KBM-KK Document 1 Filed 09/02/16 Page 19 of 19
